          Case:1:22-cv-00409-REP
          Case  23-35485, 03/13/2024, ID: 12868735,
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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           MAR 13 2024
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
M.H.; T.B.,                                         No.   23-35485

                   Plaintiffs-Appellees,            D.C. No. 1:22-cv-00409-REP
                                                    District of Idaho,
 v.                                                 Boise

MAGNI HAMSO, in her official capacity as ORDER
the Medical Director of the Idaho Division of
Medicaid and individually,

                   Defendant-Appellant,

and

DAVE JEPPESEN, in his official capacity as
the Director of the Idaho Department of
Health and Welfare; IDAHO
DEPARTMENT OF HEALTH AND
WELFARE,

                   Defendants.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Appellees’ unopposed motion (Docket Entry No. 39) to file under seal

Volume 2 of the supplemental excerpts of record and to proceed under

pseudonyms is granted.

         The court and the parties will identify appellees by their initials only, and

will not include any other identifying information on the public docket or in

publicly-filed documents. Any material submitted by the parties and containing

OSA145
          Case:1:22-cv-00409-REP
          Case  23-35485, 03/13/2024, ID: 12868735,
                                   Document         DktEntry:
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                                                       03/13/24   Page 22 of
                                                                          of 22




appellees’ names or other identifying information must be accompanied by a

motion to seal in compliance with Ninth Circuit Rule 27-13(e).

         The Clerk will file publicly the motion (Docket Entry Nos. 39-1, 39-2), the

answering brief (Docket Entry No. 37), and Volume 1 of the supplemental excerpts

of record (Docket Entry No. 38). The Clerk will file under seal Volume 2 of the

supplemental excerpts of record (Docket Entry No. 39-3).

         The existing briefing schedule remains in effect.




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